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                         IN THE UNITED STATES BANKRUPCY COURT

                                 FOR THE DISTRICT OF DELAWAR


In re:                                             \J   Chapter 11
                                                   )
W. R. GRACE & CO., et al.,l                        )    Case No. 01-01139 (JKF)
                                                   )    (Jointly Administered)
         Debtors.                                  )
                                                                           Responses Due: July 3, 2008 at 4:00 p.m.
                                                                           Hearing Date: July 21, 2008 at 1:00 p.m.

          NOTICE OF DEBTORS' OBJECTION TO THE UNSECURD CLAIMS
            ASSERTED UNER THE DEBTORS' CREDIT AGREEMENTS
                             DATED AS OF MAY 14, 1998 AND MAY 5, 1999

                 On or about June 13,2008, the above-captioned debtors and debtors in possession

(the "Debtors") filed the Debtors' Objection to the Unsecured Claims Asserted Under the

Debtors' Credit Agreements Dated as of May 14, 1998 and May 5, 1999 (the "Objection") with

the United States Bankrptcy Court for the District of Delaware. The Debtors wil serve copies

of the Objection (with all Exhibits) on (i) the Office of the United States Trustee; (ii) JPMorgan

Chase (iii) counsel to the ad hoc group of Lenders; (iv) counsel to each of the official commttees
i The Debtors consist of the following 62 entities: W. R. Grace & Co. (f/k/a Grace Specialty Chemicals, Inc.),
W. R. Grace & Co. Conn., A-I Bit & Tool Co., Inc., Alewife Boston Ltd., Alewife Land Corporation, Amicon, Inc.,
CB Biomedical, Inc. (f/ka Circe Biomedical, Inc.), CCHP, Inc., Coalgrace, Inc., Coalgrace II, Inc., Creative Food
'N Fun Company, Darex Puerto Rico, Inc., Del Taco Restaurants, Inc., Dewey and Almy, LLC (f/k/a Dewey and
Almy Company), Ecarg, Inc., Five Alewife Boston Ltd., GC Limited Partners I, Inc., (f/ka Grace Cocoa Limited
Partners I, Inc.), GC Management, Inc. (f/k/a Grace Cocoa Management, Inc.), GEC Management Corporation, GN
Holdings, Inc. GPC Thomasvile Corp., Gloucester New Communities Company, Inc., Grace A-B Inc., Grace A-B
II Inc., Grace Chemical Company of Cuba, Grace Culinary Systems, Inc., Grace Driling Company, Grace Energy
Corporation, Grace Environmental, Inc., Grace Europe, Inc., Grace H-G Inc., Grace H-G II Inc., Grace Hotel
Services Corporation, Grace International Holdings, Inc. (f/k/a Dearborn International Holdings, Inc.), Grace
Offshore Company, Grace PAR Corporation, Grace Petroleum Libya Incorporated, Grace Tarpon Investors, Inc.,
Grace Ventures Corp., Grace Washington, Inc., W. R. Grace Capital Corporation., W. R. Grace Land Corporation,
Gracoal, Inc., Gracoal II, Inc., Guanica-Caribe Land Development Corporation, Hanover Square Corporation,
Homco International, Inc., Kootenai Development Company, L B Realty, Inc., Litigation Management, Inc. (f/k/a
GHSC Holding, Inc., Grace JVH, Inc., Asbestos Management, Inc.), Monolith Enterprises, Incorporated, Monroe
Street, Inc., MRA Holdings Corp. (f/ka Nestor-BNA Holdings Corporation), MRA Intermedco, Inc. (F/ka Nestor-
BNA, Inc.), MRA Staffing Systems, Inc. (f/k/a British Nursing Association, Inc.), Remedium Group, Inc. (f/ka
Environmental Liability Management, Inc., E&C Liquidating Corp., Emerson & Cuming, Inc.), Southern Oil, Resin
& Fiberglass, Inc., Water Street Corporation, Axial Basin Ranch Company, CC Partners (f/k/a Cross Country
Staffing), Hayden-Gulch West Coal Company, H-G Coal Company.


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appointed by the United States Trustee; (v) counsel for the Future Claimants' Representative;

(vi) counsel to the debtor in possession lender; and (vii) all paries who have requested notice

pursuant to Bankrptcy Rule 2002. Responses to the relief requested in the Objection, if any,

must be in writing and be filed with the Bankrptcy Court no later than 4:00 p.m. (prevailing

Eastern time) on July 3, 2008.

                  If you fie a response to the Objection, at the same time, you must also serve a

copy of the response upon the following paries: (i) co-counsel for the Debtors, Janet S. Baer,

Kirkland & Ells LLP, 200 East Randolph Drive, Chicago, llinois 60601, Theodore L.

Freedman, Kirkland & Ellis LLP, Citigroup Center, 153 East 53rd Street, New York, New York

10022 and James E. O'Neil, Pachulski Stang Ziehl & Jones LLP, 919 North Market Street, 17th

Floor, P.O. Box 8705, Wilmington, DE 19899-8705 (Courier 19801); (ii) counsel to the Offcial

Commttee of Unsecured Creditors, Lewis Krger, Stroock & Stroock & Lavan, 180 Maiden

Lane, New York, NY 10038-4982, and Michael R. Lastowski, Duane, Morrs & Heckscher,

LLP, 1100 N. Market Street, Suite 1200, Wilmington, DE 19801-1246; (iii) counsel to the

Official Committee of Property Damage Claimants, Scott L. Baena, Bilzin, Sumberg, Dunn,

Baena, Price & Axelrod, First Union Financial Center, 200 South Biscayne Boulevard, Suite

2500, Miami, FL 33131, and Michael B. Joseph, Ferry & Joseph, P.A., 824 Market Street, Suite

904, P.O. Box 1351, Wilmington, DE 19899; (iv) counsel to the Official Commttee of Personal

Injury Claimants, Peter Van L. Lockwood, Caplin & Drysdale, Chartered, One Thomas Circle,

N.W., Washington, DC 20005, and Mark T. Hurford, Campbell & Levine, LLC, 800 N. King

Street, Suite 300, Wilmington, DE 19801; (v) counsel to the Official Committee of Equity

Holders, Gary Becker, Kramer Levin Naftalis & Frankel LLP, 919 Third Avenue, New York,

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NY 10022, and Teresa K.D. Currer, Buchanan, Ingersoll & Roney, P.C., 1000 West Street,

Suite 1410, P.O. Box 1397, Wilmington, DE 19899-1397; (vi) counsel to the Future Claimants'

Representative, Richard H. Wyron, Orrck, Herrngton & Sutcliffe, LLP, 1152 15th Street, NW,

Washington, DC 20005, and John C. Philips, Jr., Philips, Goldman & Spence, P.A., 1200

North Broom Street, Wilmington, DE 19806; and (vii) the Office of the United States Trustee,

Attn: David Klauder, 844 N. King Street, Wilmington, DE 19801.

                   Any response should contain the following:

                               A. a caption setting forth the name of the Court, the name of the Debtors,
                                   the case number, and the title of the Objection to which the Response
                                   is directed;

                               B. the name of the claimant, his/her/its claim number, and a description
                                   of the basis for the amount of the claim;

                               C. the specific factual basis and supporting legal argument upon which
                                  the pary wil rely in opposing the Objection;


                               D. any supporting documentation, to the extent it was not included with
                                   the proof of claim previously filed with the Clerk or Claims Agent,
                                   upon which the pary wil rely to support the basis for and amounts
                                   asserted in the proof of claim;

                               E. the name, address, telephone number, and fax number of the person(s)
                                   (which may be the claimant or the claimant's legal representative) with
                                   whom counsel for the Debtors should communicate with respect to the
                                   claim or the objection and who possesses authority to reconcile, settle,
                                   or otherwise resolve the objection to the Disputed Claim on behalf of
                                   the claimant.

                   If you file a response to the Objection, you should be prepared to argue that

response at the July 21,2008 hearng (the "Claims Hearng") unless you reach an agreement with

the Debtors' counsel to continue or resolve your matter. You need not respond to the Objection

or appear at the Claims Hearing if you do not object to the relief requested in the Objection. If

you do not timely fie and serve a response to the Objection, the relief requested in the Objection


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may be granted without further notice to you. Failure to timely fie a response to the Objection

shall be deemed (i) a waiver of your right to respond to the Objection and (ii) your consent to the

relief requested in the Objection respecting your claim.

                        IF NO RESPONSES ARE TIMLY FILED AND SERVED IN ACCORDANCE

WITH THIS NOTICE, THE BANKRUPTCY COURT MAY GRANT THE RELIEF

REQUESTED BY THE OBJECTION WITHOUT FUTHER NOTICE OR HEARING.

                        IN THE EVENT THAT ANY OBJECTION OR RESPONSE IS FILED AND

SERVED IN ACCORDANCE WITH THIS NOTICE, A HEARING ON THE OBJECTION

WILL BE HELD BEFORE THE HONORABLE JUDITH K. FITZGERALD, AT THE

UNITED STATES BANKRUPTCY COURT, 824 MARKET STREET, WILMINGTON,

DELAWARE 19801 ON JULY 21, 2008 AT 1:00 P.M. PREVAILING EASTERN TIM.




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                   The Debtors reserve the right to fie and serve a reply to a claimant's response. If

you have any questions regarding your claim(s) you should contact BMC at (888) 909-0100.

If   you have any questions regarding the Objection, please call Janet S. Baer at 312-861-

2000.
Dated: June 13,2008                              Respectfully submitted,


                                                 KIKLAND & ELLIS LLP
                                                 David M. Bernick, P.C.
                                                 Theodore L. Freedman
                                                 200 East Randolph Drive
                                                 Chicago, IL 60601
                                                 (312) 861-2000
                                                 and

                                                 PACHUSKI STANG ZIEHL & JONES LLP



                                                         avis Jones (Bar No. 2436)
                                                 Jam E. O'Neil (Bar No. 4042)
                                                 Kathleen P. Makowski (Bar No. 3648)
                                                 Timothy P. Cairns (Bar No. 4228)
                                                 919 North Market Street, 17th Floor
                                                 P.O. Box 8705
                                                 Wilmington, Delaware 19899-8705 (Courier 19801)
                                                 (302) 652-4100
                                                 Co-Counsel for Debtors and Debtors in Possession




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